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                              UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF SOUTH CAROLINA


In re:                                                          Case No. 20-00662-jw

                                                                Chapter 11 (Small Business)
         Watertech Holdings, LLC,

                  Debtor.


             ADDENDUM TO COMBINED PLAN AND DISCLOSURE STATEMENT
                    FILED BY THE DEBTOR ON AUGUST 21, 2020

            Watertech Holdings, LLC (“Debtor”) hereby amends and supplements its Combined Plan
    of Liquidation and Disclosure Statement (“Plan”), which was filed on August 21, 2020, to
    provide as follows:
         1. The Debtor’s Plan at Article I, “Definitions” is hereby amended and supplemented at “p”
    to provide:
            The “Effective Date” or “Effective Date of Confirmation” for cash distribution
            purposes as it is referred to in this Plan, shall mean the day that is forty-five (45)
            days after entry of the Court’s Order Confirming Plan unless any Order
            Confirming Plan shall be appealed, in which case the Effective Date shall be the
            day after any Order Confirming Plan shall become a final order, not subject to
            appeal.

         2. The Debtor’s Plan at Article I, “Definitions” is hereby amended and supplemented at “t”
    to provide:
            Net Sale Proceeds shall mean the amount of sales proceeds remaining from the
            sale of assets after the payment of all commissions, attorney’s fees, and other
            closing costs and payment of Debtor’s management and operational expenses,
            including US Trustee quarterly fees and taxes. Net Sales Proceeds are those
            remaining after payment of any and all claims and costs in Class 3 of the Plan as
            outlined in Article II of the Plan.

         3. The Debtor’s Plan at Article II, “Plan Classifications,” Class 1 and Class 2 are hereby
    amended to be consistent and provide that creditors will receive a pro rata distribution from the
    Net Sale Proceeds from the sale of Debtor’s assets.




         4. The Debtor’s Plan at Article II, “Plan Classifications,” Class 2 is hereby amended and
    supplemented at Paragraph 8 to provide:



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           Keith Johnson should be paid an Allowed Claim in Class 2 of $16,657.36.

       5. The Debtor’s Plan at Article II, “Plan Classifications,” Class 3 is hereby amended and
   supplemented at to clarify that the holders of Class 3 claims are not entitled to vote on the Plan.
   Debtor’s counsel will file a fee application with the Bankruptcy Court for all fees incurred prior
   to the Effective Date. In the event that there are funds from the $25,000 post-confirmation
   reserve, such funds will be distributed to the Holders of Allowed Class 1 and Class 2 claims, if
   practicable, or treated as Unclaimed Property under 11 U.S.C. § 347.
       6. The Debtor’s Plan at Article IV, Conditions Precedent and Implementation of the Plan is
   hereby amended and supplemented at “B. Implementation on the Effective Date” to provide that
   the Effective Date of Confirmation is the day that is forty-five (45) days after entry of the Court’s
   Order Confirming Plan unless any Order Confirming Plan shall be appealed, in which case the
   Effective Date shall be the day after any Order Confirming Plan shall become a final order, not
   subject to appeal.
       7. The Debtor’s Plan at Article XI, “Discharge of the Debtor” is hereby amended and
   supplemented to provide:
           Under the Plan, the effects of Confirmation shall be as provided under
           Bankruptcy Code sections 1141(a), (b), (c), and (d)(3). The Debtor and the estate
           shall continue to exist following Confirmation and until Final Consummation.
           Pursuant to section 1141(d)(3) of the Bankruptcy Code, the Debtor shall not be
           discharged by Confirmation or under the Plan. Upon obtaining a Final Decree
           and closing of the Chapter 11 Case, the Debtor will file its final tax returns and
           dissolve with the South Carolina Secretary of State.

       Respectfully submitted, this the 18th day of September 2020,
                                                     McCARTHY, REYNOLDS, & PENN, LLC

                                                     /s/ W. Harrison Penn
                                                     G. William McCarthy, Jr. (# 2762)
                                                     Daniel J. Reynolds, Jr. (# 9232)
                                                     W. Harrison Penn (# 11164)
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